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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
____________________________________
                                    )
JACQUES DIEUDONNE                   )
ITONG MIANGO, et al.,               )
                                    )
                     Plaintiffs,    )
                                    )
       v.                           )             Civil Action No. 15-1265 (ABJ)
                                    )
DEMOCRATIC REPUBLIC OF CONGO )
Embassy of the Democratic           )
Republic of the Congo, et al.,      )
                                    )
                     Defendants.    )
____________________________________)

                                           ORDER

       Plaintiffs’ Request for Entry of Judgment [Dkt. # 168] is GRANTED. Pursuant to Federal

Rule of Civil Procedure 58(b)(2)(B) and for the reasons stated in the Court’s January 16, 2018

Memorandum Opinion [Dkt. # 131] and Order [Dkt. # 130] granting plaintiffs’ motion for default

judgment, it is ORDERED that judgment is hereby entered against defendant Democratic

Republic of the Congo in the amount of $562,660.06:        $360,070.06 for plaintiff Jacques

Dieudonne Itong Miango; $100,700.00 for plaintiff Matala Kayaya; and $101,890.00 for plaintiff

Ouwo Likutu.

       This is a final appealable order.

       SO ORDERED.




                                           AMY BERMAN JACKSON
                                           United States District Judge

DATE: February 24, 2021
